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IN THE UNITED STATES COURT OF FEDERAL CLAIMS
BID PROTEST

 

SPACE EXPLORATION TECHNOLOGIES
CORP.,

Plaintiff, Case No. 1:19-cv-00742-LKG
v. Judge Griggsby
UNITED STATES OF AMERICA,

Defendant.

 

 

ORBITAL SCIENCES CORPORATION’S MOTION TO INTERVENE

Pursuant to Rule 24 of the Rules of the United States Court of Federal Claims (“RCFC”),
Orbital Sciences Corporation (“Orbital”), a subsidiary of Northrop Grumman Corporation, moves
to intervene of right in the above-captioned bid protest. Plaintiff challenges the Department of the
Air Force’s award of three Launch Services Agreements (““LSAs”) under the National Security
Space Launch (“NSSL”) program. Orbital seeks to intervene in the protest to protect its rights as
an LSA awardee.

Orbital is entitled to intervene in this bid protest as a matter of right because it “claims an
interest relating to the property or transaction that is the subject of the action, and is so situated
that disposing of the action may as a practical matter impair or impede [its] ability to protect its
interest.” RCFC 24(a)(2). Specifically, as an awardee now performing an LSA for the NSSL
program, Orbital has a direct and immediate economic interest in the Court’s resolution of the bid
protest challenging the Air Force’s award decision. Furthermore, although Defendant and Orbital

share an interest in demonstrating the LSA award was proper, only Orbital can adequately protect its
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particular interests in the LSA award it received and its specific competitive interests in the NSSL
program.

Orbital meets the requirements of RCFC 24(a)(2) and requests that the Court grant its motion
to intervene of right. See Bannum, Inc. v. United States, 96 Fed. Cl. 364, 378 (2010) (“The United
States Court of Appeals for the Federal Circuit has advised that ‘the requirements for intervention
are to be construed in favor of intervention.’”). Orbital has conferred with counsel for the Plaintiff

and the Defendant, and neither opposes this motion.

Dated: May 22, 2019 Respectfully submitted,

By: iid lif ‘ula

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CERTIFICATE OF SERVICE
I certify that I electronically filed the foregoing with the Clerk of the Court for the United
States Court of Federal Claims by using the CM/ECF system on May 22, 2019, and that a copy of

the foregoing was served this day on all parties via the Court’s CM/ECF system.

(tei, allt

Kevin P. Mullen
